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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


  ANTHONY DALE, BRETT JACKSON,
  JOHNNA FOX, BENJAMIN
  BORROWMAN, ANN LAMBERT,                             Case No. 1:22-cv-03189
  ROBERT ANDERSON, and CHAD
  HOHENBERY on behalf of themselves and               Hon. Thomas M. Durkin
  all others similarly situated,
                                                      Hon. Jeffrey Cole
                     Plaintiffs,

                v.                                    JOINT STATUS REPORT

  DEUTSCHE TELEKOM AG, and T-
  MOBILE US, INC.,

                     Defendants.


        Pursuant to this Court’s ruling and guidance during the February 6, 2024 Status

Conference, Plaintiffs and Defendant T-Mobile US, Inc. (“T-Mobile” and, together, “the

parties”) respectfully submit this Joint Status Report. The parties exchanged correspondence and

competing schedules on Tuesday, February 6, 2024, Wednesday, February 7, 2024, and Friday,

February 9, 2024, and met and conferred telephonically on February 9, 2024. The parties now

propose the following agreed schedule for combined class and merits expert discovery.

 Date                   Deadline

  January 15, 2026      Deadline to Serve Opening Experts Reports on Class and Merits Issues
                        for Which a Party Bears the Burden of Proof

  March 26, 2026        Opposing Expert Reports

    June 4, 2026        Rebuttal Expert Reports

    July 16, 2026       Deadline to Complete Expert Depositions



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       The parties respectfully request that the Court enter the foregoing schedule. The parties

will make themselves available to discuss further should the Court have any questions.

 Dated: February 9, 2024                /s/ Gary I. Smith, Jr.

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                               /s/ Rachel S. Brass [with permission]

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                                CERTIFICATE OF SERVICE

       I, Gary I. Smith, Jr., hereby certify that the foregoing Joint Status Report was

electronically filed on February 9, 2024, and will be served electronically via the Court’s ECF

Notice System upon the registered parties of record.


                                                       /s/ Gary I. Smith, Jr.
                                                       Gary I. Smith, Jr.
                                                       Interim Co-Lead Counsel for Plaintiffs and
                                                       the Proposed Class




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